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            EXHIBIT "1"
7/12/2018                                                                                              Offehore.png

                                                                                       Coast Guard Vessel Documentation
   (1 of 2)
                                          Vessel Name: HONEY FITZ                                                                    USCG Doc. No.: 230877
                                        Vessel Service: PASSENGER (INSPECTED)                                                            1MO Number: *
                                        Trade Indicator: Recreational                                                                        Call Sign: WDG2690
                                           Hull Material: WOOD                                                                           Hull Number: *
                                           Ship Builder: *                                                                                  Year Built: 1931
                                                                                                                                           Length (ft.): 88.4
                                           Hailing Port: PALM BEACH FL                                                                 Hull Depth (ft.): 7.1
                                                         OFFSHORE EXPRESS INC                                                        Hull Breadth (ft.): 15.8
                                                 Owner: 115 MENARD RD PO BOX 1420                                                     Gross Tonnage: 94
                                                         HOU MA, LA 70361                                                                Net Tonnage: 64
                        Documentation Issuance Date: February 23, 2017                                                  Documentation Expiration Date: February 28, 2018
                                                                                                                                                         OFFSHORE EXPRESS INC
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   Previous Vessel Names:                               No Vessel Name Changes                         Previous Vessel Owners:
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